          Case 3:15-cv-01840-FLW-DEA Document 57 Filed 07/23/15 Page 1 of 3 PageID: 290
                                                   Weisberg Law
                                              Attorneys & Counselors at Law
                                                       LICENSED IN PA & NJ

                                             7 South Morton Avenue
                                            Morton, Pennsylvania 19070
                                                 Ph: 610.690.0801
                                                Fax: 610.690.0880
Philadelphia County, Pennsylvania                                                            Matthew B. Weisberg*^
1500 Walnut St., Ste. 2000                                                                   David A. Berlin^
Philadelphia, PA 19102                                                                       Chad B. Gordon^
                                                                                             Robert P. Cocco~+
                                                                                             *NJ & PA Office Manager
                                                                                             ^Licensed in PA & NJ
Web-Site: www.weisberglawoffices.com                                                         ~Licensed in PA
E-Mail: mweisberg@weisberglawoffices.com                                                     +Of Counsel



                                                     Thursday, July 23, 2015


           Via ECF & Fax: (609) 989-0451
           Magistrate Judge Douglas E. Arpert

                     RE:        Erin & Fred Montgomery v. Rider University, et al.
                                No.: 15-1840

           Your Honor:

                  Pending before this Honorable Court in the above-captioned matter is plaintiffs’
           depositions noticed for July 27 & 28, 2015. The undersigned represents plaintiffs.

                  Plaintiffs respectfully request an emergency teleconference with this Honorable Court
           towards entry of the attached proposed order.

                   As plaintiffs live well out-of-state, in anticipation of their above-referenced upcoming
           and defense noticed depositions, plaintiffs purchased plane tickets to attend. However,
           defendants have now adjourned those depositions so that defendants may examine plaintiffs as to
           the results of later medical record retrievals (Plaintiffs anticipate written discovery responses
           prior to depositions) (Exh. A). In the alternative, to adjournment, defendants have requested
           plaintiffs attend a second session of depositions – at plaintiffs’ expense.

                   As to the medical records, this is an employment discrimination matter: not a personal
           injury case. While plaintiffs have not objected to the request for authorizations towards medical
           records, and have supplied those authorizations, those medical records will have very little if any
           bearing on plaintiffs’ depositions. To the extent those records are deposition relevant, plaintiffs
           have offered to submit themselves to reconvened depositions by telephone (at no expense) or in-
           person depositions (at defendants’ expense) – which defendants have rejected. To wit, in any
           action, medical records most often follow depositions – not precede them.

                     Above all, it was Defendants that noticed Plaintiffs depositions for these dates.
Case 3:15-cv-01840-FLW-DEA Document 57 Filed 07/23/15 Page 2 of 3 PageID: 291




        Thank you for this Honorable Court’s consideration of plaintiffs’ request for entry of the
attached proposed order upon teleconference. Of course, if Your Honor requires anything
further, plaintiffs and their undersigned counsel will abide.



                                                    Sincerely,

                                                    /s/ Matthew B. Weisberg
                                                    MATTHEW B. WEISBERG

MBW/hcm
Enclosure
Cc:    Kelly Ann Bird, Esq. (via ECF & fax: 973-639-6372)
       Lindsay J. Jarusiewicz, Esq. (via ECF & fax: 973-639-8300)
       Justin Schwam, Esq. (via fax: 732-560-9779)
Case 3:15-cv-01840-FLW-DEA Document 57 Filed 07/23/15 Page 3 of 3 PageID: 292




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

Erin Montgomery & Fred Montgomery,            :
Individually & as h/w                         :
708 Belmont Rd.                               :
Fairless Hills, PA 19030                      :       NO.: 15-1840
                                              :
                              Plaintiffs,     :
       v.                                     :
                                              :
                                              :
Andrea Neale, et al.                          :       JURY TRIAL DEMANDED
d/b/a Rider University                        :
2083 Lawrenceville Rd.                        :
Lawrenceville, NJ 08648                       :
                              Defendants.     :

                                             ORDER

       AND NOW ____________ day of _________, 2015, upon consideration of Plaintiffs’

Letter Request Re: Plaintiffs’ Depositions, and any response thereto, it is hereby ORDERED and

DECREED that Plaintiffs’ request is GRANTED, and Defendants are limited to deposing

Plaintiffs as noticed, July 27 & 28, 2015, respectively.




                                                      _________________________________
                                                      Douglas E. Arpert           ,M.J.
